                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  CASE NO. 1:20-cv-00954-WO-JLW


 FARHAD AZIMA,

                     Plaintiff,
                                 DEFENDANT VITAL
   v.
                            MANAGEMENT SERVICES, INC.’S
 NICHOLAS DEL ROSSO and       MEMORANDUM OF LAW IN
 VITAL MANAGEMENT SERVICES,   SUPPORT OF MOTION FOR
 INC.,                          PROTECTIVE ORDER

                     Defendants.


                   Pre-Deposition Interim Relief Requested

        NOW COMES Defendant Vital Management Services, Inc.’s (“VMS”),

and pursuant to Rule 26 of the Federal Rules of Civil Procedure (“Rule(s)”),

hereby submits the following memorandum of law in support of its Motion for

Protective Order (“Motion”), seeking a Protective Order forbidding or limiting

inquiry into certain matters during VMS’s upcoming Rule 30(b)(6) deposition,

and an interim order staying VMS’s deposition until the Court’s decision on

this Motion.

                                  INTRODUCTION

        The disputes giving rise to this Motion are set out in detail in Defendants

VMS and Nicholas Del Rosso’s (collectively, the “Defendants”) prior-filed




    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 1 of 31
discovery motions.     (See, e.g., D.E. 206, pp.4–12).   VMS recites herein

background information necessary for the Court’s resolution of this Motion.

      Plaintiff Farhad Azima (“Plaintiff”) initially brought eleven claims

against Defendants, containing sprawling allegations of a purported global

conspiracy between Defendants and others to hack Plaintiff’s data and publish

it online, all on behalf of a foreign government, Ras al Khaimah (“RAK”), and

its related entities. (See e.g., D.E. 1, ¶¶1–2).

      However, on December 10, 2021, in its Memorandum Opinion and Order

on Defendants’ Motion to Dismiss pursuant to Rule 12(b)(6) (the “12(b)(6)

Order”), the Court dismissed nine of Plaintiff’s eleven claims as time-barred,

and only allowed his North Carolina misappropriation of trade secrets claim

and contingent North Carolina civil conspiracy claim to proceed (Counts VIII

and X), limited to the “2018-2019 conduct—the only allegations that are not

time-barred.” (D.E. 65, pp.23–25) (hereinafter, the “Remaining Claims”).

      Thus, Plaintiff’s once sprawling Complaint was limited to the legal

claims arising out of allegations that Defendants conspired with CyberRoot

Risk Advisory Private Ltd. (“CyberRoot”) to republish Plaintiff’s data in 2018

and 2019 using WeTransfer. (See id. at 17–18 (citing to Complaint, D.E. 1,

¶¶16, 19, 22, 24–26)). Indeed, the Court reiterated this narrowed scope in its

Memorandum Opinion and Order on Defendants’ Motion to Dismiss pursuant

to Rule 12(b)(1), stating that only “two of Plaintiff’s claims were allowed to

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 2 of 31
proceed: a North Carolina misappropriation of trade secrets claim arising from

the 2018-2019 online posting of new links to Plaintiff’s confidential business

data (Count VIII) and a North Carolina civil conspiracy claim contingent upon

the viability of the trade secrets claim (Count X).” (D.E. 80, p.4).

      Despite such, Plaintiff commenced discovery into matters irrelevant and

disproportionate to his Remaining Claims, in addition to seeking information

protected by the attorney-client privilege and/or work-product doctrine. This

has resulted in numerous discovery disputes, nine of which were heard by the

Court at a March 7, 2023 hearing, (see D.E. 122, 130, 133, 136, 142, 144, 150,

154, 188), and three filed as a result of Plaintiff’s continued expansive

discovery after the March 7, 2023 hearing, (see D.E. 196, 198, 205).

(Collectively, the “Discovery Motions”).

      Now, Plaintiff intends to inquire into an improper range of topics during

the Rule 30(b)(6) deposition of VMS, scheduled for May 17, 2023, which (a) are

neither relevant nor proportionate to the needs of the case, (b) seek testimony

about matters protected by the attorney-client privilege and/or work-product

doctrine, and (c) improperly seek testimony for purposes of his litigation

elsewhere, including Azima et al. v. Dechert LLP, et al., No. 22-cv-08728

(S.D.N.Y. filed Oct. 13, 2022) (the “S.D.N.Y. Action”) and RAK Inv. Auth. v.

Azima, Case No. HC-2016-002798 (the “U.K. Proceeding”).



                                        3



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 3 of 31
                                STATEMENT OF FACTS

         On December 22, 2022, Plaintiff served his Rule 30(b)(6) deposition

notice on VMS (the “30(b)(6) Notice”), setting the deposition for January 27,

2023, and listing certain topics of inquiry (the “Topics”). See Ex. A.1 On

January 13, 2023, Defendants served formal objections to the Topics, primarily

on the grounds of scope and privilege/attorney work-product noted above. See

Ex. B.

         On January 18, 2023, by way of an amended Rule 30(b)(6) deposition

notice, the date set for VMS’s 30(b)(6) deposition was changed to May 17, 2023.

See Ex. C. On April 5, 2023, Defendants served substantially the same formal

objections to Plaintiff’s January 18, 2023 amended notice, with an additional

request that the deposition be postponed until after a ruling on the several

pending discovery motions. See Ex. D.

         Further, notwithstanding the numerous Discovery Motions that are

currently sub judice, on April 5, 2023, via letter, Plaintiff refuted Defendants’

formal objections, and set forth “Specific Issues Encompassed Within the

Noticed Vital Rule 30(b)(6) Deposition Topics,” (the “April 5 Letter”), consisting

of three pages of “specific matters” which Plaintiff contends Mr. Del Rosso (the




1   Ex. A and all other exhibits cited herein are attached to the accompanying Motion.

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        Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 4 of 31
only viable Rule 30(b)(6) witness for VMS) must be prepared to testify. See

Ex. E.

      On April 7, 2023, Defendants responded to Plaintiff’s assertions in his

April 5 Letter, and objected to the seemingly additional topics set forth in the

April 5 Letter. See Ex. F. Without waiving their objection to scope, Defendants

also further noted the impossibility of preparing any individual to testify

regarding the amount of information covered in Plaintiff’s topics—including,

but not limited to, 48 identified entities and individuals, 15 identified projects,

and “any litigation involving Plaintiff Azima,”—and asked Plaintiff to identify

which projects, entities, and individuals Plaintiff intended to focus on in order

to prepare Del Rosso. See id. at 3. Defendants also asked Plaintiff to be more

specific in time periods for each Topic. Id. Plaintiff replied on April 11, 2023,

noting he would not respond to any of Defendants’ objections or requests in

Defendants’ April 7, 2023 Letter. See Ex. G.

                             LEGAL STANDARD

      Pursuant to Rule 26(c), upon a showing of good cause, a court may issue

a protective order “forbidding the disclosure or discovery,” “forbidding inquiry

into certain matters, or limiting the scope of disclosure or discovery into certain

matters” in order “to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense[.]” Fed. R. Civ. P.

26(c)(1).

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     Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 5 of 31
      Additionally, Rule 26(b)(2)(C) provides that “the court must limit the

frequency or extent of discovery” if it determines that “the discovery sought is

unreasonably cumulative or duplicative” or is “outside the scope permitted by

Rule 26(b)(1).”   Fed. R. Civ. P. 26(b)(2)(C)(i), (iii).   Rule 26(b)(1) permits

“discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case[.]” Fed. R. Civ. P.

26(b)(1).

      “Rule 26(c) confers broad discretion on the trial court to decide when a

protective order is appropriate and what degree of protection is required.”

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984). Determination of good

cause requires a court to balance the need for the information versus the harm

in producing it. See, e.g., UAI Tech., Inc. v. Valutech, Inc., 122 F.R.D. 188, 191

(M.D.N.C. 1988) (“In order to obtain a protective order prohibiting a deposition,

the proponent must convince the Court that the information sought by the

deposition lacks relevance to the extent that the likelihood and severity of the

harm or injury caused by the deposition outweighs any need for the

information.”)




                                        6



     Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 6 of 31
                                     ARGUMENT

I.    THE TOPICS FOR INQUIRY AT VMS’S DEPOSITION SHOULD
      BE PROHIBITED AND/OR LIMITED.

      A party taking a Rule 30(b)(6) deposition “must describe with reasonable

particularity the matters for examination,” Fed. R. Civ. P. 30(b)(6), which

must be limited to “nonprivileged matter[s] that [are] relevant to any party’s

claim or defense and proportional to the needs of the case,” Id. at 26(b)(1).

      Plaintiff’s Rule 30(b)(6) Topics—addressed in turn below—should be

prohibited and/or limited to topics (a) relevant to Plaintiff’s Remaining Claims,

and proportionate to the needs of the case, in light of the 12(b)(6) Order

dismissing 9 of his 11 claims;2 (b) not protected by any applicable privilege—

namely, the attorney-client privilege and work-product protections applicable

to Defendants’ work with Dechert in furtherance of Dechert’s representation

of RAK and its related entities; and (c) intended for use in this action, as

opposed to topics seeking information in furtherance of Plaintiff’s several other

actions pending in other jurisdictions, including the S.D.N.Y. Action and U.K.

Proceeding.



2Courts regularly issue protective orders narrowing Rule 30(b)(6) topics which inquire into
dismissed claims. See, e.g., Luken v. Christensen Grp. Inc., No. C16-5214 RBL, 2018 WL
1994121, at *3 (W.D. Wash. Apr. 27, 2018); Food Mkt. Merchandizing, Inc. v. California Milk
Processor Bd., No. 2:15-CV-1083-TLN-CKD, 2022 WL 1811076, at *8 (E.D. Cal. June 2, 2022);
Ingila v. Dish Network Corp., No. 13-CV-00809-MSK-MJW, 2014 WL 1408083, at *3 (D. Colo.
Apr. 11, 2014); Braun v. Medtronic Sofamor Danek, Inc., No. 2:10-CV-1283, 2013 WL
1566692, at *5 (D. Utah Apr. 12, 2013).


                                            7



     Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 7 of 31
    A. Topic 1

       “All categories of documents requested in Plaintiff’s First Request
       for Production . . . as well as documents produced by [Defendants]
       in response to Plaintiff’s discovery requests.”

       Topic 1 seeks testimony regarding all documents merely “requested” by

Plaintiff, never mind their existence, or the fact that the discoverability of

these requested documents is presently before the Court. (See D.E. 142).3 That

aside, there is no way that VMS (i.e., Del Rosso) could be expected to be

prepared to testify about the breadth of documents “requested” in Plaintiff’s

first set of requests for production. For example, Plaintiff’s first set of requests

for production requests—over the course of nearly a decade—all documents

and communications related to, inter alia, transactions with any person or

entity “that performed any work for or provided any services to Defendants,”

(See D.E. 131-2, ¶1), despite the Court significantly narrowing this case to the

allegations that Defendants conspired with CyberRoot to, via WeTransfer,

republish Plaintiff’s data in 2018 and 2019. (See D.E. 65, pp.17–18, 23–25).

       Indeed, Plaintiff’s April 5 Letter, purportedly sent to provide a “list . . .

of more specific issues encompassed within the Topics that [Plaintiff] intend[s]

to cover,” tacitly acknowledges the overbreadth of the Topics. See Ex. E, p.2.

However, the April 5 Letter fairs no better at identifying relevant and non-



3 Defendants incorporate herein their arguments objecting to Plaintiff’s first set of requests
for production. See D.E. 142, 143, and 179.

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     Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 8 of 31
privileged matters or identifying them with particularity such that VMS’s

preparation to testify is feasible. See id. pp.2–6. For example, the April 5

Letter states that Del Rosso should be prepared to testify—on behalf of VMS—

about “[a]ll payment references included in records produced by PNC Bank”4

and “[a]ll payments received by [VMS] from 2014 to present related directly or

indirectly to Azima, Dechert, or RAK,” as well as what “work was performed”

or “what work or project it related to.” See id. p.3.

         Even if all this information were tangentially relevant to Plaintiff’s

Remaining Claims—which it is not (see D.E. 143, 179)—it is in no way

proportionate to the needs of the case, and involves information which RAK,

as the ultimate client of Dechert for whom VMS was performing this “work,”

has asserted all applicable privileges. (See D.E. 176, p.2, D.E. 162-1; see also

D.E. 205-17 (Al Sadeq v. Dechert LLP, et al. [2023] EWHC 795 (KB) [130–131,

137–138, 185–186, 200]) (sustaining privilege and work-product protection

objections by Dechert and rejecting arguments that any such privileges could

be overcome by the crime fraud exception)).

         Therefore, at the very least, Plaintiff should be required to narrow Topic

1, identifying relevant and non-privileged documents with particularity such

that VMS’s preparation to testify on these documents is feasible.                   While




4   Plaintiff subpoenaed PNC Bank for all of Defendants bank records spanning back to 2014.

                                              9



       Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 9 of 31
discovery afforded under the Rules is broad, Plaintiff should not be permitted

to impose upon VMS the undue burden of preparing to testify on such a vast

amount of information—with no clear indication as to how this information

relates to his Remaining Claims, much less how it is proportional to the needs

of the case.   See Moses H. Cone Mem'l Hosp. Operating Corp. v. Conifer

Physician Servs., No. 1:13CV651, 2016 WL 4007605, at *2–5 (M.D.N.C. July

26, 2016) (finding Rule 30(b)(6) deponent did not have to be prepared to discuss

irrelevant topics, or topics that were relevant but, considering proportionality,

were otherwise “overbroad and unduly burdensome”).

      Further, Plaintiff should not be permitted to pursue this discovery

here—where his claims have been explicitly limited to the alleged “2018-2019

conduct”—in an effort to seek information in support of his broader allegations

in his litigation pending elsewhere. See Oppenheimer Fund, Inc. v. Sanders,

437 U.S. 340, 364 n.17 (1978) (noting “when the purpose of a discovery request

is to gather information for use in proceedings other than the pending suit,

discovery is properly denied”).

      Accordingly, VMS requests Topic 1 be limited to testimony on documents

relevant and proportionate to the “2018-2019 conduct—the only allegations

that are not time-barred.” (See D.E. 65, pp.23–24). Moreover, Defendants

request that VMS not be required to testify on privileged matters or matters

protected by the work product doctrine, specifically including Defendants’ work

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 10 of 31
with Dechert in furtherance of Dechert’s representation of RAK and its related

entities.

   B. Topics 2, 3, and 6.

      Topic 2: “All payments included in Defendants’ bank records and
      related agreements, contracts, invoices, bills, requests for
      payment, or descriptions of work. In particular, the representative
      should be prepared to address all work performed by and all
      payments received from or sent to Dechert, Neil Gerrard, Jamie
      Buchanan, Buchanan Entities, Ras Al Khaimah Entities, Gravitas
      International FZE, CyberRoot, Aditya Jain, Jain Entities, Stuart
      Page, Stuart Page Entities, Amit Forlit, Forlit Entities, KARV
      Communications, Chris Swecker, Swecker Entities, Patrick
      Grayson, Grayson + Co., GH Holding LLC, Grayson Entities, Paul
      Robinson, Robinson Entities, Yuri Koshkin, Koshkin Entities,
      Nick McCullough, McCullough Entities, Jean Renaud Fayol, Fayol
      Entities, Northern Technologies Inc., Gary Lowe, Shanahan Law
      Group, PLLC (and all prior iterations of this entity), Nelson
      Mullins Riley & Scarborough LLP, or any other Person that
      performed any work for or provided any services to Defendants, or
      for whom Defendants provided, attempted to provide, or offered to
      provide work or services, related to Plaintiff, Plaintiff’s Associates,
      or any business or personal enterprise involving or related to
      Plaintiff.”

      Topic 3: “Reports, memoranda, summaries, notes, or outlines
      related to Plaintiff, Plaintiff’s Associates, or any personal or
      business enterprise involved or related to Plaintiff prepared for or
      by Del Rosso, VMS, or any of the individuals and entities identified
      in Topic No. 2, including but not limited to so-called “Project
      Updates,” Project Beech reports, and action plans.”

      Topic 6: “Travel Records related to work performed by, at the
      direction of, or with the involvement of Del Rosso, VMS, or
      Defendants for or with the individuals and entities identified in
      Topic No. 2, including but not limited to travel to the Hotel
      Moosegg, Switzerland; Cyprus; and meetings at Dechert’s offices
      in New York and London.”


                                        11



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 11 of 31
      Topics 2, 3, and 6 seek testimony on essentially every facet of

Defendants’ business that may relate to an amorphous list of individuals and

entities “that performed any work for or provided any services to Defendants”

since 2014. Again, to the extent VMS has even interacted with any of the

individuals and entities in these Topics, there is no way to prepare Del Rosso

to face questioning on every aspect of VMS’s business since 2014, and further,

there is no justifiable reason for him to do so.

      Indeed, these Topics are extraordinarily overbroad and not proportionate

when compared to the issues remaining in this case—i.e., whether Defendants

conspired with CyberRoot to republish Plaintiff’s data via WeTransfer in 2018

and 2019. (See D.E. 65, pp.17–18, 23–25). It is unclear how, for example, the

travel records of Del Rosso with his counsel, or memoranda pertaining to

Defendants’ lawful fraud examination work, unrelated to Plaintiff, performed

for Dechert/RAK would be at all relevant to Plaintiff’s Remaining Claims.

      Further, to the extent these Topics actually seek information regarding

VMS’s work with CyberRoot, Del Rosso has already been questioned regarding

CyberRoot, both in this lawsuit and in the U.K. Proceeding, to which Del Rosso

has explained that it was “confidential work . . . on behalf of RAK,” which is

privileged, see Ex. H, 125:25–126:9, and that this work “did not concern Mr.

Azima” and “did not involve any instructions to hack anyone or disseminate

material obtained through hacking.” (See D.E. 132-1).

                                        12



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 12 of 31
        Moreover, this information, even if somehow tangentially related to

Plaintiff, is not proportional to the needs of this case. The broad inquiries

regarding the individuals and entities listed in Topic 2 is not surprising given

most of them are named in Plaintiff’s broader allegations in the S.D.N.Y.

Action and U.K. Proceeding. Again, Plaintiff should not be permitted to use

this lawsuit as a vehicle to conduct discovery in furtherance of his broader

allegations in other jurisdictions. See Oppenheimer Fund, Inc., 437 U.S. at 364

n.17.

        Accordingly, Topics 2, 3, and 6 should be limited to individuals and

entities allegedly involved in the Remaining Claims—and not individuals or

entities that Plaintiff alleges are tied to his dismissed hacking claims, or his

broader global conspiracy alleged in the S.D.N.Y. Action and U.K. Proceeding.

Further, Topics 2, 3, and 6 should be limited to information relevant and

proportional to his Remaining Claims. Lastly, VMS requests that VMS not be

required to testify on privileged matters or matters protected by the work

product doctrine, specifically including Defendants’ work with Dechert in

furtherance of Dechert’s representation of RAK and its related entities.




                                      13



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 13 of 31
    C. Topics 4 and 5
       Topic 4: “Acquisition of, retention of, or use of any documents that
       belonged or belong to Plaintiff.”

       Topic 5: “Any attempt or effort (whether successful or
       unsuccessful) by Defendants or any Person to conceal the receipt,
       possession, transfer, or copying of any Document or
       Communication that belonged or belongs to Plaintiff including, but
       not limited to, any attempt by Defendants or any Person to destroy
       or delete any such Documents or Communications.”

       Aside from their presumptuous nature, Topics 4 and 5 essentially seek

testimony regarding any action at any time by any person regarding any

documents or communications belonging to Plaintiff. These two topics are

vague and overbroad due to Plaintiff’s failure to identify, define, or narrow (1)

the individuals or entities to whom VMS should be prepared to testify about;

(2) the documents or communications that VMS should be prepared to testify

about;5 and (3) the time frame that VMS should be prepared to testify about.

       Moreover, these Topics are extraordinarily overbroad and not

proportionate when compared to the issues remaining in this case—i.e.,

whether Defendants conspired with CyberRoot to republish Plaintiff’s data via

WeTransfer in 2018 and 2019. (See D.E. 65, pp.17–18, 23–25). For example,

in Topic 4, Plaintiff’s use of the term “Acquisition” generally, without assigning



5 Defendants assume the documents are limited to Defendants’ production in this case,
however, Plaintiff’s failure to provide such limitation is concerning. Additionally, Defendants
dispute Plaintiff’s assertion of ownership over the documents Defendants produced, as the
documents were available publicly on the internet, and Plaintiff has not proven ownership.


                                              14



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 14 of 31
such conduct to a person or entity, would include inquiry into matters which

VMS and Del Rosso have no knowledge. Similarly, in Topic 5, Plaintiff’s use

of the phrase “[a]ny attempt or effort . . . by . . . any Person” suffers from the

same defect, appearing to include inquiry into matters which VMS and Del

Rosso have no knowledge. Regardless, Del Rosso has already re-affirmed his

prior sworn testimony in the U.K. Proceeding that he (1) “did not hack Mr.

Azima’s device, cause him to be hacked, [and does not] know who hacked him”

and (2) “did not upload his data to the internet, cause his data to be uploaded,

[and does not] know who uploaded his data.” (D.E. 132-1, ¶7). Thus, Plaintiff

should not be permitted to cause Del Rosso (on behalf of VMS) to speculate as

to information he has already testified he has no knowledge on.

      Additionally, Plaintiff’s failure to limit the timeframe of these Topics

shows Plaintiff is not only seeking testimony irrespective of whether VMS has

knowledge of such, but also shows he is intentionally casting a wide net beyond

the operative allegations—i.e., the “2018-2019 conduct[.]” (See D.E. 65, pp.23–

24). At the very least, these Topics fail to identify their subject matter with

reasonable particularity, see Fed. R. Civ. P. 30(b)(6), and should be prohibited

or limited on that basis. See, e.g., Parrottino v. Bankers Life & Cas. Co., No.

12-cv-13084, 2014 WL 1516195, at *4-6 (E.D. Mich. Apr. 17, 2014) (finding

certain deposition topics overly broad because they lacked any limit to relevant

scope or time in the matter).

                                       15



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 15 of 31
      Lastly, Defendants have already set forth in their answer that “VMS

assisted Dechert in engaging a suitable digital forensics firm, Northern

Technology, Inc., to assist Dechert in retrieval of the data” from “two links on

the internet[.]” (See D.E. 86, ¶15). Beyond the basic information provided in

their Answer, VMS does not have the authority to disclose any further

information regarding this work, as the ultimate client of that work—RAK and

its related entities—have asserted all applicable privileges. (See D.E. 182-4).

      Accordingly, VMS requests Topics 4 and 5 be limited to testimony

regarding VMS’s purported actions regarding matters relevant and

proportionate to the “2018-2019 conduct—the only allegations that are not

time-barred.” (See D.E. 65, pp.23–24). Further, VMS requests VMS not be

required to testify on privileged matters or matters protected by the work

product doctrine, specifically including Defendants’ and its subcontractors’

work with Dechert in furtherance of Dechert’s representation of RAK and its

related entities.

   D. Topic 7

      Topic 7: “Meetings with Amir Handjani during Plaintiff’s trial in
      London in January and February 2020, including but not limited
      to Amir Handjani’s meeting with Del Rosso at Del Rosso’s son’s
      flat.”

      Topic 7 seeks testimony irrelevant to this matter. Indeed, these alleged

meetings occurred well after the alleged “2018-2019 conduct” supporting


                                      16



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 16 of 31
Plaintiff’s Remaining Claims. (See D.E. 65, pp.17–18, 23–24). Indeed, the

focus of this Topic is on an individual central to his broader allegations in the

S.D.N.Y. Action and U.K. Proceeding, and Plaintiff should not be permitted to

use this lawsuit as a vehicle to conduct discovery in furtherance of his broader

allegations in other jurisdictions. See Oppenheimer Fund, Inc., 437 U.S. at 364

n.17.

        Therefore, Plaintiff should be prohibited from seeking any testimony on

Topic 7. See Minter v. Wells Fargo Bank, N.A., Nos. WMN-07-3442, WMN-08-

1642, 2012 WL 13001301, at *3 (D. Md. Mar. 9, 2012) (granting motion for

protective order under Rule 26(b) and (c) to limit scope of deposition to prohibit

inquiry into matters not relevant to any claim).

   E. Topics 8 and 10

        Topic 8: “The allegations in Defendants’ Answer and Affirmative
        Defenses.”

        Topic 10: “The contents of Defendants’ initial disclosures and any
        amended or supplemental disclosures.”

        While on their face not unreasonable topics, VMS is forced to request

that, with respect to Topics 8 and 10, the Court prohibit Plaintiff from

inquiring into matters protected by the attorney-client privilege and/or work-

product     doctrine—specifically    including     Defendants’   (including    its

subcontractors’) work for Dechert in furtherance of Dechert’s representation of

RAK and its related entities.         First, despite Plaintiff’s knowledge of

                                       17



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 17 of 31
Defendants’ position on privilege going into Del Rosso’s individual deposition,

Plaintiff inquired into such topics anyway. (See D.E. 179, pp.12–15). Second,

as alluded to above, Defendants have revealed in their Answer how they came

into possession of the data purportedly belonging to Plaintiff. (See D.E. 86,

¶15.) As to the details of that lawful subcontracted work—which Plaintiff

forecasts inquiry in his April 5 Letter (see Ex. E, p.5), VMS does not have the

authority to disclose this information because of RAK’s assertion of all

applicable privileges. (See D.E. 182-4).

      Accordingly, since Plaintiff has forecasted that he will ask specific

questions regarding “[t]he allegations in Defendants’ Answer and Affirmative

Defenses” and “[t]he contents of Defendants’ initial disclosures and any

amended or supplemental disclosures,” and given Plaintiff’s repeated

disregard of asserted privilege/work-product protections in this matter, (see,

e.g., D.E. 122, pp.15-16, D.E. 143, pp.7-8, D.E. 179, pp.12-15), VMS requests,

with respect to Topics 8 and 10, that VMS not be required to testify on

privileged matters or matters protected by the work product doctrine—

specifically including Defendants’ and its subcontractors’ work with Dechert in

furtherance of Dechert’s representation of RAK and its related entities.




                                       18



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 18 of 31
   F. Topic 9

      Topic 9: “Pleadings, witness statements, and correspondence
      related to any litigation involving Plaintiff Azima.”

      Topic 9 is overly broad because it attempts to shoehorn in inquiry into

the significantly broader operative allegations in other litigation “involving”

Plaintiff, regardless of whether VMS or Del Rosso are parties to that litigation.

Indeed, the litigation brought by or “involving” Plaintiff is extensive, including:

(1) the S.D.N.Y. Action; (2) the U.K. Proceeding; (3) Azima v. Global Impact

Services, Inc., No. 9:22-mc-81229-JEM (S.D. Fla.) (the “S.D. Fla. Action”); (4)

Azima v. RAK Inv. Auth., No. 16-cv-1948 (KBJ) (D.D.C.) (the “D.C. Action”); (5)

Solomon v. Dechert, LLP, et al., No. 1:22-cv-03137-JEB (D.C. Cir. 2022) (the

“Solomon Action”); (6) Stokoe Partnership Solicitors v. Grayson, et al., Claim

No. QB-2020-002492 (High Court of Justice of England and Wales, Queen’s

Bench Division) (the “Stokoe Action”); (7) In re: Application of Karam Salah Al

Din Awni Al Sadeq and Stokoe Partnership Solicitors, No. 1:21-mc-6 (M.D.N.C.

2021) (the “Al Sadeq Action”); and (8) In re: Application of Cameron Findlay,

No. 1:23-mc-5 (M.D.N.C. 2023) (the “Findlay Action”). Thus, in seeking

testimony regarding “any litigation involving Plaintiff Azima,” this Topic

clearly seeks testimony in furtherance of other matters, despite such testimony

lacking any relevancy to Plaintiff’s Remaining Claims.




                                        19



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 19 of 31
      Indeed, Plaintiff has also already shown that his intent is to seek

testimony about matters that are not related to the Remaining Claims in this

matter. For example, at Del Rosso’s individual deposition, Plaintiff inquired

into each individual defendants and “Non-Party Co-Conspirator” in the

S.D.N.Y. Action, all of whom (aside from one entity) have not been alleged as

responsible for the republication of Plaintiff’s alleged trade secrets in 2018 or

2019. (See D.E. 179, p.5). Further, Plaintiff asked 180 questions regarding the

theft of Del Rosso’s devices, which is an issue in the Stokoe Action and not

related to the present case. (Id. at 6). Plaintiff also deposed Del Rosso on

witnesses and events in the U.K. Proceeding, which have no relationship to the

claims remaining in this case. (Id. at 7). Moreover, Plaintiff appears to have

already used information produced in this case for other matters, (see D.E. 182-

1), which is a violation of the Court’s Protective Order, (see D.E. 177).

      Accordingly, Plaintiff should not be allowed to again depose Del Rosso

(this time testifying on behalf of VMS) on information regarding the broader

allegations in Plaintiff’s litigation pending elsewhere, unrelated to his

Remaining Claims. See Oppenheimer Fund, Inc., 437 U.S. at 364 n.17; see also

Topline Sols., Inc., v. Sandler Sys., Inc., 2017 WL 1230817, at *4-6 (D. Md. Apr.

3, 2017) (denying objection to Magistrate Judge’s Order limiting scope of

individual 30(b)(6) depositions to enumerated issues in complaint, stating

parties may not engage in “fishing expedition[s]” (internal quotation marks

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 20 of 31
and citation omitted); S. Film Extruders, Inc., v. Coca-Cola Co., 11 F.R.D. 559,

562-63 (M.D.N.C. 1987) (granting motion for protective order to prohibit

defendants from engaging “in a broad-ranging deposition” when defendants

had advanced that deponents could only offer information relevant to two

matters in a proxy statement that were inconsistent with plaintiff’s claim, and

therefore limiting scope of deposition inquiry to only the two inconsistencies as

a matter of policy).

      Thus, Topic 9 should be limited to the operative allegations supporting

Plaintiff’s Remaining Claims in this case, and Plaintiff should be prohibited

from inquiring into the several other lawsuits “involving” Plaintiff.

   G. Topic 11

      Topic 11: “The scope of projects undertaken by VMS, including
      but not limited to ‘Project Nariman,’ ‘Project Concorde,’ ‘Project
      Fallow,’ ‘Project N2,’ ‘Project San Remo,’ ‘Project Endeavor,’
      ‘Wenger Project,’ ‘Project Eagle’ or ‘Site Surveys Eagle,’ ‘Project
      ORM’ or ‘Online Reputation Management,’ ‘Project Two,’ ‘Project
      N-Monaco,’ ‘India Project,’ and ‘Indonesia Project.’ ”

      Topic 11 seeks testimony regarding projects not relevant to Plaintiff’s

Remaining Claims and not proportionate to the needs of this case.            For

example, Del Rosso has already been questioned at his individual deposition

about most of these purported “projects,” and has already testified that projects

“Endeavor,” “Concorde,” and “ORM” are not related to Defendants’ work for

RAK, see Ex. H, 59:21–25; 60:2–3; 306:16–307:14.


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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 21 of 31
      The April 5 Letter goes even further, stating that VMS (i.e., Del Rosso)

should be prepared to testify about, inter alia, “[a]ll projects associated with

work performed for Dechert between 2014 and 2019, including the name(s) of

each project, the timeframe of the project, the lawyers involved, all

subcontractors involved, the scope of the work performed for each project,

names of any purported suspects or targets for each project, and any alleged

victims associated with the project.” Ex. D, p.2. Even if this expansive topic

did contain some information tangentially relevant to Plaintiff, it is in no way

proportionate to the needs of the case and places an undue burden on VMS to

attempt to prepare for such broad inquiries.

      Additionally, Topic 11 includes inquiry into projects performed for

Dechert in furtherance of Dechert’s representation of RAK, to which RAK has

asserted all applicable privileges. (See D.E. 182-4). For example, this Topic

(including those listed in the April 5 Letter) forecasts inquiry about “Project

Nariman” and “Project BBQ,” which Del Rosso was already extensively

questioned about at his individual deposition and clearly explained as work

performed for Dechert in furtherance of Dechert’s representation of RAK. See

Ex. H, 50:22–51:25; 140:1–9.     Moreover, Del Rosso already testified that

“Project BBQ” did not involve work related to Plaintiff. See id. at 140:1–9.

      Finally, Defendants have already alerted Plaintiff in their February 15,

2023 Letter, (see D.E. 182-1), to their knowledge of Plaintiff’s use of

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 22 of 31
information obtained from Defendants’ confidential bank records produced in

this case6 in other matters.       Indeed, the briefing in the S.D. Fla. Action

confirmed Plaintiff is seeking information on and “the names of various

projects [he] apparently believes are related to the U.K. Litigation.” (Id. at 3

(quotation omitted)). And yet, “other than project ‘Beech’ or ‘Beach,’ Azima has

not come forward with any evidence to demonstrate that is actually the case.”

(Id. (quotation omitted)). Plaintiff should not be permitted to keep conducting

his overly broad and improper discovery efforts, especially when said discovery

is sought for use in other matters.

      Accordingly, Topic 11 should be limited to inquiry regarding projects

related to Plaintiff’s Remaining Claims, and VMS should not be required to

testify on privileged matters or matters protected by the work product doctrine,

specifically including Defendants’ and its subcontractors’ work with Dechert in

furtherance of Dechert’s representation of RAK and its related entities.




6 Before the Court entered a Discovery Order, Plaintiff had already served a subpoena on
PNC Bank, but did not serve a notice of the same on Defendants pursuant to Rule 45(a)(4).
(See D.E. 123, p.13).

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 23 of 31
   H. Topic 12

      Topic 12: “Entities VMS made payments to or received payments
      from, including but not limited to GH Holding LLC, Wheels Up
      Partners LLC, The White Crush Company LLC, Gravitas
      International FZE, Trident Group LLC, Karakoram Group,
      Mackworth Associates, Johannes Alexander Mueller, Elite
      Security Services, Rosenblatt Limited General, ADM Enterprises,
      Al Tamimi & Co., Phoenix Digital Services, Reditch Global
      Solutions, Stratzen, WhiteInk Global, B.J. Lyons, and
      Abousleiman & Partners.”

      Topic 12 seeks testimony on any entity that VMS has ever made

payments to or received payments from, without specifying any specific

timeframe for such payments. Requiring Del Rosso (on behalf of VMS) to be

prepared to testify on such an overbroad and irrelevant swath of information

would be unduly burdensome and not proportionate to the needs of this case.

As explained throughout, the scope of discovery in this case is limited to “a

North Carolina misappropriation of trade secrets claim arising from the 2018-

2019 online posting of new links to Plaintiff’s confidential business data (Count

VIII) and a North Carolina civil conspiracy claim contingent upon the viability

of the trade secrets claim (Count X).” (D.E. 80, p.4). None of these individuals

or entities appear in any pleading in this matter, nor have they been alleged

to have been involved in the Remaining Claims. Plaintiff should not be

permitted to harass Del Rosso, who is the only person that can testify on behalf

of VMS, regarding issues entirely irrelevant to this matter. See Minter, 2012

WL 13001301, at *3 (granting motion for protective order under Rule 26(b) and

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    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 24 of 31
(c) to limit scope of deposition to prohibit inquiry into deponent’s knowledge of

defendant entity’s business operations and practices because inquiries were

not relevant to any claim).

       Accordingly, Plaintiff should be prohibited from seeking testimony under

Topic 12.

II.    VMS’S DEPOSITION SHOULD BE STAYED UNTIL THE COURT
       RULES ON THIS MOTION.

       As the Court is aware from the briefing on Del Rosso’s Motion for

Protective Order (D.E. 142) and Plaintiff’s Motion to Compel Further

Deposition Testimony (D.E. 188), the parties’ differing views on the scope of

discovery as well as the applicability of certain privileges has already played

out during Del Rosso’s individual deposition. The result—more motions and

briefing before this Court, with Defendants contending that Plaintiff is

pursuing irrelevant and disproportionate discovery, and purposefully

inquiring into privileged matters, (see, e.g., D.E. 179); and Plaintiff contending

that he is entitled to further deposition testimony from Del Rosso due to Del

Rosso and his counsel’s purported obstruction of the deposition by lodging

scope objections and not answering questions on the basis of privilege, (see, e.g.,

D.E. 189).

       The primary points of objection at Del Rosso’s individual deposition were

lines of questioning that were not relevant or proportionate to his Remaining


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      Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 25 of 31
Claims, and lines of questioning seeking information protected by the attorney-

client privilege and/or work-product doctrine, including Defendants’ fraud

examination work for Dechert in furtherance of Dechert’s representation of

RAK and its related entities. (See D.E. 179, 193). Now, as forecasted in

Plaintiff’s Topics and April 5 Letter, Plaintiff intends to again go outside the

scope of the remaining claims in the case on yet another fishing expedition.

For example, in Plaintiff’s April 5 Letter, he forecasts inquiry into “[a]ll

projects associated with work performed for Dechert between 2014 and 2019”

and associated details of that work. See Ex. D, p.2. Defendants have already

objected to these efforts in the Discovery Motions (see, e.g., D.E. 142, 143), and

at Del Rosso’s individual deposition, (see D.E. 179, pp.11–15).

      In order to protect Defendant from further overly broad, burdensome,

and harassing questions, the Court should enter an emergency interim order,

before May 17, 2023, preventing the deposition from being held on May 17,

2023, and delay it until some reasonable amount of time after it rules on this

Motion. VMS notes that Defendants’ already-pending motion to stay discovery

(D.E. 205) similarly requests, inter alia, a stay of VMS’s deposition until the

Court rules on the several pending discovery motions heard by the Court on

March 7, 2023.




                                       26



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 26 of 31
      VMS also suggests that the Court shorten the briefing time for this

motion, making Plaintiff’s Response due seven (7) days after its filing, and

Defendant’s Reply due four (4) days after the Response.

                               CONCLUSION

      For the foregoing reasons, VMS respectfully requests that this Court

enter a Protective Order:

   (1) Limiting Topic 1 to testimony on documents relevant and proportionate

      to the Remaining Claims, and ordering that VMS is not required to

      testify on privileged matters or matters protected by the work product

      doctrine, specifically including Defendants’ work with Dechert in

      furtherance of Dechert’s representation of RAK and its related entities;

   (2) Limiting Topics 2, 3, and 6 to individuals, entities, and information

      related to Plaintiff’s Remaining Claims, and ordering that VMS not be

      required to testify on privileged matters or matters protected by the

      work-product doctrine, specifically including Defendants’ work with

      Dechert in furtherance of Dechert’s representation of RAK and its

      related entities;

   (3) Limiting Topics 4 and 5 to VMS’s purported actions regarding documents

      relevant and proportionate to the Remaining Claims, and ordering that

      VMS not be required to testify on privileged matters or matters protected

      by the work-product doctrine, specifically including Defendants’ and its

                                      27



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 27 of 31
      subcontractors’ work with Dechert in furtherance of Dechert’s

      representation of RAK and its related entities;

   (4) Prohibiting inquiry into Topic No. 7;

   (5) With respect to Topics 8 and 10, prohibiting inquiry into privileged

      matters or matters protected by the work-product doctrine, specifically

      including Defendants’ and its subcontractors’ work with Dechert in

      furtherance of Dechert’s representation of RAK and its related entities;

   (6) Limiting Topic 9 to the operative allegations supporting Plaintiff’s

      Remaining Claims in this case, and prohibiting inquiry into the several

      other lawsuits “involving” Plaintiff;

   (7) Limiting Topic 11 to inquiry regarding projects related to Plaintiff’s

      Remaining Claims, and prohibiting inquiry into privileged matters or

      matters protected by the work product doctrine, specifically including

      Defendants’ and its subcontractors’ work with Dechert in furtherance of

      Dechert’s representation of RAK and its related entities; and

   (8) Prohibiting inquiry into Topic No. 12.

      VMS also respectfully requests the Court enter an emergency interim

order staying VMS’s deposition until the Court rules on this Motion.

Additionally, in light of Plaintiff’s forecast to ask the same questions previously

asked of Del Rosso and Plaintiff’s intent to use the Rule 30(b)(6) deposition as



                                        28



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 28 of 31
a fishing expedition, VMS respectfully requests the deposition be limited to

four hours.

      Respectfully submitted, this the 27th day of April, 2023.

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                                      29



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 29 of 31
                        CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of April, 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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                                        30



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 30 of 31
                     WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that the foregoing document contains 6,221 words, according to the word

count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the word limitation.

      Respectfully submitted this 27th day of April, 2023.

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                                       31



    Case 1:20-cv-00954-WO-JLW Document 217 Filed 04/27/23 Page 31 of 31
